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                            UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

 DOUGLAS BRUCE,                                     :
                                                    :
                 Plaintiff,                         :   Case No. 3:21-cv-00080
                                                    :
        v.                                          :   Judge Thomas M. Rose
                                                    :
 CITY OF MIAMISBURG, et al.,                        :
                                                    :
                 Defendants.                        :
______________________________________________________________________________

    ENTRY AND ORDER DISMISSING PLAINTIFF DOUGLAS BRUCE’S THIRD
       CAUSE OF ACTION (VIOLATION OF SUBSTANTIVE DUE PROCESS
                         AGAINST ALL DEFENDANTS)
______________________________________________________________________________

       This action is brought under 42 U.S.C. § 1983 by Plaintiff Douglas Bruce (“Bruce”). In

his Complaint (the “Complaint”), Bruce alleges that his properties were excessively fined, the two

apartment buildings sitting on the properties were wrongfully demolished, and his properties were

wrongfully subjected to tax liens and foreclosure by the City of Miamisburg; the Mayor of

Miamisburg, Michelle Collins; Montgomery County, Ohio; and the Montgomery County

Treasurer, Russell Joseph. (Doc. No. 1.) Defendants City of Miamisburg (“Miamisburg”) and

Mayor Michelle Collins (“Collins”) (collectively, “Defendants”) filed an Answer (Doc. No. 13)

and a Motion for Judgment on the Pleadings (Doc. No. 19) (the “Motion”). The Court entered an

Order granting in part and denying in part Defendants’ Motion for Judgment on the Pleadings.

(Doc. No. 25.)

       The Court found that Bruce’s substantive due process claim was more appropriately

brought under his first cause of action, a takings claim under the Fifth Amendment. (Doc. No. 25

at PageID 165.) The Court ordered Bruce to either: (1) amend the Complaint to state a substantive


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due process claim; or, (2) file a memorandum responding to the Court’s reasoning by November

1, 2021. (Id. at PageID 166.) On November 1, 2021, Bruce notified the Court that he did not

intend to oppose the dismissal of his Substantive Due Process claim. (Doc. No. 27.) Bruce has

not amended the Complaint to state a substantive due process claim. Therefore, the Court

dismisses Bruce’s Third Cause of Action (Violation of Substantive Due Process Against All

Defendants).

       DONE and ORDERED in Dayton, Ohio, this Wednesday, November 3, 2021.


                                                              s/Thomas M. Rose
                                                      ________________________________
                                                              THOMAS M. ROSE
                                                      UNITED STATES DISTRICT JUDGE




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